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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                              SHREVEPORT DIVISION

JOSEPH KURZ #169198                                 CIVIL ACTION NO. 21-1965 SEC P

VERSUS                                              JUDGE ELIZABETH E. FOOTE

DARREL VANNOY                                       MAGISTRATE JUDGE PEREZ-MONTES

                                         JUDGMENT

         For the reasons stated in the Report and Recommendation of the Magistrate Judge

previously filed herein [Rec. Doc. 5], and after a de novo review of the record, including

the objection filed by Petitioner [Rec. Doc. 6], having determined that the findings and

recommendation are correct under the applicable law:

         IT IS ORDERED that the Section 2254 Petition [Rec. Doc. 1] is DENIED and

DISMISSED WITH PREJUDICE.

         Rule 11 of the Rules Governing Section 2254 Proceedings for the U.S. District Courts

requires the district court to issue or deny a certificate of appealability when it enters a

final order adverse to the applicant. The Court, after considering the record in this case

and the standard set forth in 28 U.S.C. Section 2253, denies a certificate of appealability

because the applicant has not made a substantial showing of the denial of a constitutional

right.
                                             10th
          THUS DONE AND SIGNED this X/
                                    9th day of November, 2021.




                                          ELIZABETH ERNY FOOTE
                                          UNITED STATES DISTRICT JUDGE
